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               Exhibit A
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                Settlement Class Memer Opt-Out List

  GCG No.     Name                           State Zip     Country
    1000672   HARRY LI                       --            CA
    1003474   MATHIEU BLAKE                                CA
    1004323   CRAIG GIMMEGELT                NY    11362   US
    1005756   KWOK PUN CHAN                                CA
    1008337   MICHAEL A HOWARD               AL    36613   US
    1011299   EDMOND PRUTHI                  NY    10704   US
    1013252   KELLY TOMLINSON                TX    78734   US
    1016048   FEHZAN ALI                     TX    75007   US
    1016757   PARUL S RAO                                  CA
    1018483   ALDO PACCHIONE                               CA
    1020707   GLEB ANDREJEVICH KUZMIN        MD    20855   US
    1028151   M RUGGIERO                                   CA
    1030477   BILL TOL CHEA                  CA    95204   US
    1030555   HARMANDEEP BANDESHA                          CA
    1033010   CATALIN CRISTEA                              CA
    1035006   HOWARD MILLER                  MA    02356   US
    1035021   SONORAN ONLINE MARKETING LLC   CA    94111   US
    1046269   JOSE R BUCHELI                 NM    87106   US
    1075377   DANIEL MOORE                   IN    46373   US
    1076756   A'S MERCHANDIZING              MT    59719   US
    1077795   KELSON R LUCAS                 CT    06279   US
    1091301   KELLY TOMLINSON                TX    78734   US
    1092345   BETHA NGAITA                   CA    95823   US
    1094292   STEVEN CONKLIN                 CT    06063   US
    1095802   THOMAS MICHAEL BILDERBACK      TN    38320   US
    1098645   EYRAM SOTOME                   NY    11422   US
    1098852   ESSENAM SOTOME                 NY    11550   US
    1099300   YAN FEI ZHANG                                CA
    1099549   VICTOR RINALDI                               CA
    1101166   P&Z SERVICES INC.              FL    33009   US
    1107211   EYRAM SOTOME                   NY    11553   US
    1107467   ZACHARY DEPEW                  NJ    08065   US
    1108042   JUNE-MARIE ROGERS-PETERSON     NY    14830   US
    1109713   SARA ZARGARAN                  FL    33141   US
    1121865   GIUSEPPE MORENA                              CA
    1121904   CHRISTOPHER HOPE               NY    14094   US
    1141489   FOUR PEAKS ONLINE MARKETING    CA    94111   US
    1159878   R K REZAUN KARIM               CA    90706   US
    1181878   M ABUL HAYAT KHAN              NY    11372   US
    1182084   RITUL PATEL                    NJ    08863   US
    1185658   FEHZAN ALI                     TX    78704   US
    1187934   NEW PEAK MEDIA INC                   82609   CA
    1192823   EONLINEGLOBAL, INC.            CA    94111   US


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              Settlement Class Memer Opt-Out List

  GCG No.   Name                          State Zip   Country
    1195301 MASOUMEH SHAYESTEH MANESH                 CA
    1197566 C2C MARKETING, INC.           NV    89107 US




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